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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

_________________________________________
                                    )
In re:                              )                              Chapter 11
                                    )
                              1
NUMBERS HOLDINGS, INC. et al.,      )                              Case No. 24-10719 (JKS)
                                    )
                                    )                              (Jointly Administered)
               Debtors.             )
                                    )                              Re: Docket Nos. 344 and 483
___________________________________ )                              Objection deadline: May 14, 2024


          OBJECTION BY CHILLS99, LLC; UPLAND VILLAGE CENTER, LLC;
                99WHTLNE, LLC; 99 OLIVES, LLC; KINGS WP5, LLC;
               SIERRA FONTANA 99, LLC, SC PICO PLAZA, LLC; AND
              CP WOOD, LLC TO PROPOSED CURE CLAIM AMOUNT
                    WITH RESPECT TO UNEXPIRED LEASES

         CHILLS99, LLC; UPLAND VILLAGE CENTER, LLC; 99WHTLNE, LLC; 99 OLIVES,

LLC; KINGS WP5, LLC; SIERRA FONTANA 99, LLC, SC PICO PLAZA, LLC; AND CP

WOOD, LLC, (collectively, the “Wood Landlords”) affiliated landlords managed by Wood

Investments Companies, Inc., hereby file and serve, by and through their undersigned counsel,

their objections to the proposed cure amounts with respect to unexpired leases (the “Wood

Landlords’ Leases”) in this matter between Debtor 99 Cents Only Stores LLC (“Debtor”) as Tenant

and each of the Wood Landlords as Landlord.

         On May 2, 2024, Debtor filed its Notice of Potential Assumption of Executory Contracts

or Unexpired Leases and Cure Amounts (the “Cure Notice”) as Doc. 344. The Wood Landlords’



1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: (i) Number Holdings, Inc. (1463); (ii) 99 Cents Only Stores LLC (1605); (iii) 99 Cents
Only Stores Texas, Inc. (1229); (iv) 99 Cents PropCo LLC (7843); (v) 99 Cents HoldCo LLC (3987); and (vi)
Bargain Wholesale LLC (8030). The Debtors’ principal offices are located at 1730 Flight Way, Suite 100, Tustin,
CA 92782.
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Leases are listed on the Schedule 1 attached to the Cure Notice. The Cure Amount for each Lease

and the corrected Cure Amount are set forth in the following Cure Claim Chart:

                                                                                        Cure
                                                                                                       Cure Claim
    Landlord                             Property Address                               Claim
                                                                                                       Corrected
                                                                                        Listed2
    CHILLS99, LLC                        4050 Chino Hills Pkwy, Chino Hills                     $0 $192,134.56
    Upland Village Center, LLC           229 E. Foothill Blvd., Upland                  $25,675.06 $68,208.63
    99WHTLNE, LLC                        1501 White Lane, Bakersfield                   $33,801.83 $33,801.83
    99 Olives, LLC                       1111 W. Olive Ave., Merced                     $37,706.66 $107,599.03
    KINGS WP5, LLC                       4979 E. Kings Canyon Rd., Fresno               $23,018.44 $55,728.11
    Sierra Fontana 99, LLC               9255 Sierra Ave., Fontana                       $2,568.75 $63,432.67
    SC Pico Plaza, LLC                   55 Via Pico Plaza, San Clemente                 $40,060.08    $114,416.82
    CP Wood, LLC                         2450 E. Chapman, Fullerton                      $28,831.01    $71,266.43


           The cure amounts are incorrect and the Wood Landlords hereby object thereto. The correct

cure amounts are as set forth in the above Cure Claim Chart.

           In addition to the objections to the Cure Amounts, the Wood Landlords note that the identity

of the proposed assignees of the Wood Landlords’ Leases have not yet been provided nor has any

adequate assurance of future performance of the obligations of lessees under the Wood Landlords’

Leases has been provided to the Wood Landlords. Further, under the terms of the Wood Landlords’

Leases and applicable law, the Wood Landlords are entitled to recoup their attorney’s fees and

costs incurred in respect to the leases as a condition to any assumption and assignment of the Wood

Landlords’ Leases. The Wood Landlords therefore reserve their right to object to the assumption

and assignment of the Lease for any additional reasons.

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     The Cure Amount Listed in the above chart were obtained from the Notice filed herein as Doc. 3.
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       The Wood Landlords therefore respectfully request that the Court prohibit the assumption

of the Wood Landlords’ Leases unless and until Debtor amends the Schedule to correct the Cure

Amounts for the Wood Landlords’ Leases as specified herein and pay the Corrected Cure Amount.

Date: May 15, 2024                  Respectfully submitted,

                                    /s/ Todd C. Ringstad
                                    Todd C. Ringstad, Esq. (Cal Bar 97456)
                                    RINGSTAD & SANDERS LLP
                                    4910 Birch Street. Suite 120
                                    Newport Beach, California 92660
                                    Telephone: 949-851-7450
                                    Email: todd@ringstadlaw.com
                                    Attorneys for CHILLS99, LLC; UPLAND VILLAGE
                                    CENTER, LLC; 99WHTLNE, LLC; 99 OLIVES, LLC;
                                    KINGS WP5, LLC; SIERRA FONTANA 99, LLC, SC
                                    PICO PLAZA, LLC; AND CP WOOD, LLC
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                                 DECLARATION OF PATRICK WOOD

          I, Patrick Wood, declare under penalty of perjury as follows:

          1.       I am the CEO/President of Wood Investments Companies, LLC (the “Property

Manager”), which is an affiliate of and provides management services to CHILLS99, LLC;

UPLAND VILLAGE CENTER, LLC; 99WHTLNE, LLC; 99 OLIVES, LLC; KINGS WP5, LLC;

SIERRA FONTANA 99, LLC, SC PICO PLAZA, LLC; AND CP WOOD, LLC, (collectively, the

“Wood Landlords”) with respect to eight unexpired leases of real property in which the lessee’s

interest in each Lease is held by 99 Cents Only Stores, LLC. I am personally familiar with the

management of the property and the amounts due and accruing under each of the Leases, and paid

and unpaid under the Leases.

          2.       The Notice of Potential Assumption of Executory Contracts or Unexpired Leases

and Cure Amounts (the “Cure Notice”) filed in the case as Doc. 344, lists a Cure Amount for each

of the Leases. The following chart correctly identifies each Landlord, each property address, the

incorrect cure amount stated by the Debtor, and the corrected amount due according to the books

and records of the Property Manager.

                                                                                       Cure
                                                                                                      Cure Claim
    Landlord                            Property Address                               Claim
                                                                                                      Corrected
                                                                                       Listed3
    CHILLS99, LLC                       4050 Chino Hills Pkwy, Chino Hills                     $0 $192,134.56
    Upland Village Center, LLC          229 E. Foothill Blvd., Upland                  $25,675.06 $68,208.63
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    The Cure Amount Listed in the above chart were obtained from the Notice filed herein as Doc. 3.
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                               CERTIFICATE OF SERVICE

       I, Todd C. Ringstad, Esq., hereby certify that on May 14, 2024, I served or caused to be

served a correct copy of the foregoing by the Court’s CM/ECF system on all counsel of record

registered in this case through CM/ECF and by separate email upon the following:

       (1) Proposed co-counsel to the Debtors, (1) Milbank LLP, 55 Hudson Yards, New

York, NY 10001, Attn: Dennis F. Dunne (ddunne@milbank.com); Michael W. Price

(mprice@milbank.com); Lauren C. Doyle (ldoyle@milbank.com); Brian Kinney

(bkinney@milbank.com); and James A. McIntyre (jmcintyre@milbank.com), and (2) Morris,

Nichols, Arsht & Tunnell LLP, 1201 N. Market Street, 16th Floor, P.O. Box 1347, Wilmington,

Delaware 19899-1347, Attn: Robert J. Dehney, Sr. (rdehney@morrisnichols.com); Matthew O.

Talmo (mtalmo@morrisnichols.com), and Jonathan M. Weyand (jweyand@morrisnichols.com);

       (2) Counsel to any Stalking Horse Bidder, (iii) the U.S. Trustee, 844 King Street, Suite

2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Rosa Sierra-

Fox (rosa.sierra-fox@usdoj.gov); (iv) counsel to any Committee; and (v) counsel to the DIP

Agent, Proskauer Rose LLP, 11 Times Square, New York, NY 10036, Attn: David M. Hillman

(dhillman@proskauer.com) and Megan R. Volin (mvolin@proskauer.com).

Dated: May 14, 2024                  RINGSTAD & SANDERS LLP

                                      /s/ Todd C. Ringstad
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                                     Attorneys for CHILLS99, LLC; UPLAND VILLAGE
                                     CENTER, LLC; 99WHTLNE, LLC; 99 OLIVES, LLC;
                                     KINGS WP5, LLC; SIERRA FONTANA 99, LLC, SC
                                     PICO PLAZA, LLC; AND CP WOOD, LLC
